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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE

 PEARL IP LICENSING LLC,
                                                     Civil Action No.: 1:22-cv-00577-RGA
              Plaintiff,

       v.                                            TRIAL BY JURY DEMANDED

 OMRON ELECTRONICS LLC,

              Defendant.

            JOINT STIPULATION AND [PROPOSED] ORDER OF DISMISSAL

       Plaintiff Pearl IP Licensing LLC and Defendant Omron Electronics LLC (collectively, the

“Parties”), by and through undersigned counsel, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), hereby

jointly stipulate and agree to dismiss all claims against Defendant Omron Electronics LLC and all

counterclaims against Plaintiff Pearl IP Licensing LLC WITH PREJUDICE, with each party to

bear its own attorneys’ fees and costs.

 Dated: September 22, 2022                           Respectfully submitted,

                                                     CHONG LAW FIRM PA

                                                     /s/ Jimmy Chong
                                                     Jimmy Chong (#4839)
                                                     2961 Centerville Road, Suite 350
                                                     Wilmington, DE 19808
                                                     Telephone: (302) 999-9480
                                                     Facsimile: (302) 800-1999
                                                     Email: patent@chonglawfirm.com

                                                     Howard L. Wernow (Pro hac vice)
                                                     SAND, SEBOLT & WERNOW CO., LPA
                                                     Aegis Tower – Suite 1100
                                                     4940 Munson Street NW
                                                     Canton, Ohio 44718
                                                     Telephone: (330) 244-1174
                                                     Facsimile: (330) 244-1173
                                                     Howard.Wernow@sswip.com

                                                     ATTORNEYS FOR PLAINTIFF
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                                          ASHBY & GEDDES

                                          /s/ Andrew C. Mayo
                                          Andrew C. Mayo (#5207)
                                          500 Delaware Avenue, 8th Floor
                                          PO Box 1150
                                          Wilmington, Delaware 19899
                                          (302) 654-1888
                                          amayo@ashbygeddes.com

                                          Charles S. Barquist (Pro hac vice)
                                          MASCHOFF BRENNAN
                                          300 South Grand Avenue – 14th Floor
                                          Los Angeles, California 90071
                                          (949) 202-1900
                                          CBarquist@mabr.com

                                          Christina L. Trinh (Pro hac vice)
                                          MASCHOFF BRENNAN
                                          100 Spectrum Center Drive – Suite 1200
                                          Irvine, California
                                          (949) 202-1900
                                          CTrinh@mabr.com

                                          ATTORNEYS FOR DEFENDANT


                     22 day of September, 2022.
    SO ORDERED this ____


                                     /s/ Richard G. Andrews
                                   UNITED STATES DISTRICT JUDGE




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